              Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 1 of 31




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           CHURCHILL DOWNS                             :
           INCORPORATED,                               :
               Plaintiff,                              :           CIVIL ACTION NO.
                                                       :           1:12-CV-0517-WBH
                 v.                                    :
                                                       :
           COMMEMORATIVE DERBY                         :
           PROMOTIONS, INC., et al.,                   :
               Defendants.                             :



                              ORDER OF PERMANENT INJUNCTION

                 This case arises out of a trademark and licensing dispute. Plaintiff is the

           proprietor of the Churchill Downs racetrack and the Kentucky Derby and Kentucky

           Oaks races and holds various trademarks associated with the track and those races.

           Defendants market and sell horse-racing commemorative merchandise such as clothing

           and souvenirs. For a time, Defendants had a licensing agreement with Plaintiff to

           produce and sell products bearing Plaintiff’s marks. After the licensing agreement

           expired in 2010, Plaintiff continued to sell products that bore Plaintiff’s protected

           marks, and Plaintiff brought this action.

                 By order of September 23, 2013, [Doc. 85], Judge Julie E. Carnes found

           Defendants liable to Plaintiff for infringing on Plaintiff’s trademark rights under the



AO 72A
(Rev.8/8
2)
              Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 2 of 31




           Lanham Act and under state law, for engaging in unfair competition, and for violating

           the post-termination terms of the licensing agreement. Judge Carnes later granted

           Defendants’ motion for reconsideration and concluded, inter alia, that Plaintiff had

           abandoned its trademark in “Louisville Jockey Club” such that the use of that mark in

           isolation would not violate Plaintiff’s trademark rights. [Doc. 98]. Judge Carnes did

           not, however, disturb her ruling with respect to Plaintiff’s other marks that Defendants

           had infringed.

                 The parties agree that Plaintiff is entitled to an injunction, but after months of

           negotiations, they could not agree to the terms of that injunction. This Court then

           invited the parties to submit redline versions of the latest draft of the injunction from

           their negotiations showing their proposed changes to that draft order along with

           argument in support of their changes. This Court has now reviewed those submissions

           and concludes that the scope of both parties’ proposed orders is greater than this Court

           will impose.

                 Injunctive relief must be tailored narrowly to the harm that it addresses, Osmose,

           Inc. v. Viance, LLC, 612 F.3d 1298, 1323 (11th Cir. 2010), and it cannot be directed

           at activities that have not been deemed to have caused harm, Cumulus Media, Inc. v.

           Clear Channel Communications, Inc., 304 F.3d 1167, 1178 (11th Cir. 2002). The harm

           in this case is Defendants’ sale of merchandise that Judge Carnes concluded infringed


                                                      2

AO 72A
(Rev.8/8
2)
              Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 3 of 31




           on Plaintiff’s trademark rights, and the production and sale of products that Judge

           Carnes found offensive to Plaintiff’s trademark rights is all that this Court is willing

           to enjoin. Further, this Court will not attempt to identify hypothetical activities that

           Defendants can or cannot engage in as the legality of those activities has not been

           litigated here.

                  In her August 8, 2014, order, granting Defendants’ motion for reconsideration

           Judge Carnes observed that

                  Defendants further request that the Court specify in greater detail the
                  bases for finding that defendants’ products infringe plaintiff’s marks.
                  The Court has provided, in the [summary judgment order], the grounds
                  upon which defendants’ products infringe upon plaintiff’s marks, and will
                  not present an itemized list at this point. Instead, the Court will address
                  defendants’ concerns when it turns its attention to the permanent
                  injunction.

           [Doc. 98 at 16].

                  Also, Defendants point out in their memorandum in support of their version of

           the injunction that they need to know what about their products were infringing so that

           they can take care to avoid infringing in the future. [Doc. 105 at 8].1 As much as the

           undersigned wants to tell the parties that Judge Carnes’ orders speak for themselves,




                  1
                   Helpfully, Defendants have included an exhibit to their proposed order that
           they and Plaintiff agree infringed on Plaintiff’s trademark rights. That exhibit is
           attached to this order as well.
                                                      3

AO 72A
(Rev.8/8
2)
              Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 4 of 31




           a review of the case law indicates that, in crafting injunctive relief, courts have a duty

           to specify with precision exactly what behavior is the subject of the order.

                 Accordingly, this Court has carefully reviewed Judge Carnes’ orders in the

           context of the parties’ arguments. All of the infringing merchandise identified by

           Judge Carnes contained a combination of elements that, when viewed in context, was

           likely to produce confusion in the public as to whether Defendants’ products were

           made by Plaintiff or whether Plaintiff licensed or otherwise endorsed those products.2

           Those elements are: (1) the name “Derby,” (2) the name “Oaks,” (3) references to the

           geographic locations of the Commonwealth of Kentucky and the City of Louisville,

           including the word “Bluegrass,” (4) the year 1875, when the Kentucky Derby was first

           held, (5) horse-racing imagery and/or language, (6) roses, and (7) lilies. Defendants’

           infringing products, examples of which appear in the attached Exhibit, combined the

           following elements:

                 A. Louisville, “Derby,” and horse racing imagery

                 B. Louisville, horse racing language, and 1875

                 C. Kentucky, “Derby,” and horse racing imagery

                 D. “Derby,” horse racing imagery, and 1875



                 2
                    For a full discussion of trademark/unfair competition law as applied to this
           action, see Judge Carnes’ order of September 23, 2013, [Doc. 85] at 6-11.
                                                       4

AO 72A
(Rev.8/8
2)
              Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 5 of 31




                 E. a depiction of roses and “Derby”

                 F. a depiction of lilies and “Oaks”

                 G. “Derby” and 1875

                 H. horse-racing imagery, “Derby,” and “Bluegrass”

                 It is important to note that the combined elements were the focus of the

           offensive products rather than a reference descriptive of some other thing such as a

           famous race horse. It appears, for instance, that Defendants sell products that relate

           to the race horse Secretariat and include the fact that Secretariat won the Kentucky

           Derby, and Plaintiff’s suit raised no claim regarding the question of whether such a

           product would infringe upon Plaintiff’s trademark. It is further important to note that

           these items were sold in a context that would lead to confusion. For example, the

           product or products that included a depiction of lilies and the name “Oaks” were sold

           in retail establishments near Louisville. There is no indication that selling that same

           item in Brownsville, Texas, would or would not infringe on Plaintiff’s trademark in the

           Kentucky Oaks horse race.

                 With the foregoing in mind, pursuant to 15 U.S.C. § 1116(a), Defendants are

           hereby permanently ENJOINED from producing and/or selling physical goods that

           combine the elements mentioned above in the manner described above in a context that

           is likely to cause confusion among the consuming public under the Lanham Act. This


                                                       5

AO 72A
(Rev.8/8
2)
              Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 6 of 31




           injunction further covers combinations of the above-mentioned elements in a manner

           that would obviously be prohibited based on Judge Carnes’ orders.

                 IT IS SO ORDERED, this 27th day of January, 2016.




                                                   6

AO 72A
(Rev.8/8
2)
Case 1:12-cv-00517-WBH Document 112 Filed 01/27/16 Page 7 of 31




                         EXHIBIT
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page83ofof31
                                                                  50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page94ofof31
                                                                  50
Case 1:12-cv-00517-WBH
Case 1:12-cv-00517-WBH Document
                       Document 105-2
                                112 Filed
                                      Filed01/27/16
                                            09/11/15 Page
                                                      Page106 of
                                                              of 31
                                                                 50
Case 1:12-cv-00517-WBH
Case 1:12-cv-00517-WBH Document
                       Document 105-2
                                112 Filed
                                      Filed01/27/16
                                            09/11/15 Page
                                                      Page118 of
                                                              of 31
                                                                 50
Case 1:12-cv-00517-WBH
Case 1:12-cv-00517-WBH Document
                       Document 105-2
                                112 Filed
                                      Filed01/27/16
                                            09/11/15 Page
                                                      Page129 of
                                                              of 31
                                                                 50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page13
                                                            11ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page14
                                                            13ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page15
                                                            15ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page16
                                                            17ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page17
                                                            19ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page18
                                                            20ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page19
                                                            22ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page20
                                                            24ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page21
                                                            25ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page22
                                                            26ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page23
                                                            28ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page24
                                                            29ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page25
                                                            31ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page26
                                                            33ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page27
                                                            35ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page28
                                                            37ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page29
                                                            38ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page30
                                                            40ofof31
                                                                   50
 Case1:12-cv-00517-WBH
Case  1:12-cv-00517-WBH Document
                         Document105-2
                                  112 Filed
                                       Filed01/27/16
                                             09/11/15 Page
                                                       Page31
                                                            41ofof31
                                                                   50
